  Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 1 of 26 PageID# 95



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                RICHMOND DIVISION


UNITED STATES OF AMERICA                       )
                                               )
                                               )       Case No. 3:19cr130
                                               )
OKELLO T. CHATRIE,                             )
          Defendant                            )

       DEFENDANT OKELLO CHATRIE’S MOTION TO SUPPRESS EVIDENCE
            OBTAINED FROM A “GEOFENCE” GENERAL WARRANT


       Okello Chatrie, through counsel, moves the Court to suppress evidence that law

enforcement obtained pursuant to a warrant authorizing state police to obtain the cell phone

location information of 19 Google users who happened to be in the vicinity of a bank robbery on

a Monday afternoon in Richmond. This is a “geofence” warrant, and it is an unlawful and

unconstitutional general warrant that is both overbroad and lacks the particularity required by the

Fourth Amendment. The Court should therefore suppress all evidence obtained from the warrant

and all fruit of the poisonous tree, including the identification of Mr. Chatrie.

                                        INTRODUCTION

       Law enforcement obtained Mr. Chatrie’s cell phone location information from Google

using a “geofence” warrant. A geofence warrant requires Google to produce data regarding all

devices using Google services within a geographic area during a given window of time. But unlike

a typical warrant for location data, this geofence warrant did not identify Mr. Chatrie in any way.

In fact, it did not identify any of the 19 people whose personal information was searched by the

Virginia state police as a result. Instead, the warrant operated in reverse: it required Google to

identify a large cache of deeply private data—held in the “Sensorvault”—and then allowed police



                                                   1
  Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 2 of 26 PageID# 96



the discretion to obtain private information from devices of interest. This is nothing less than the

modern-day incarnation of a “general warrant,” and it is prohibited by the Fourth Amendment.

        Virginia police obtained a warrant for the Sensorvault data in this case, presumably because

they recognized, correctly, that such information is intensely private and constitutionally protected.

Like the cell site location information (“CSLI”) in Carpenter v. United States, 138 S. Ct. 2206

(2018), cell phone users constantly generate Sensorvault location information by either (1) using

devices running Google’s software (“Android” phones), or (2) interacting with Google services

(Maps, Gmail, Search, YouTube, etc.). See Background, infra. And as in Carpenter, users have a

reasonable expectation of privacy in their location data, which is sensitive and revealing of the

“privacies of life.” 138 S. Ct. at 2214. Not only can this data reveal private activities in daily life,

but it can also show that someone is inside a constitutionally protected space, such as a home,

church, or hotel—all of which are in the immediate vicinity of the bank that was robbed in

Richmond. The ability to access data that can locate individuals quickly, cheaply, and retroactively

is an unprecedented expansion of law enforcement power, and doing so constitutes a Fourth

Amendment search, just as it did in Carpenter. Id at 2230; see also Prince Jones v. United States,

168 A.3d 703, 712 (D.C. 2017) (recognizing that access to cell phone location data permits the

“police to locate a person whose whereabouts were previously completely unknown.”). In fact, the

location data available in Google’s Sensorvault is even more precise than the data in Carpenter.

Google can pinpoint an individual’s location to approximately 20 meters compared to “a few

thousand meters” for cell site location data. Google, Find and Improve Your Location’s Accuracy

(Oct.    24,    2019),     https://support.google.com/maps/answer/2839911?co=GENIE.Platform

%3DAndroid&oco=1. Therefore, the third-party doctrine should not apply, and a valid warrant

should be required for law enforcement to access any user’s Sensorvault data.



                                                   2
  Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 3 of 26 PageID# 97



       Nonetheless, the fact that law enforcement obtained a warrant in this case does not save

the search from constitutional infirmity. This is no ordinary warrant. It is a general warrant

purporting to authorize a classic dragnet search of every Google user who happened to be near a

bank in suburban Richmond during rush hour on a Monday evening. This is the kind of

investigatory tactic that the Fourth Amendment was designed to guard against. Geofence warrants

like the one in this case are incapable of satisfying the probable cause and particularity

requirements, making them unconstitutional general warrants.

       In the alternative, should the Court find that geofence warrants are not wholly

impermissible under the Fourth Amendment, the warrant in this case fails to satisfy the

particularity requirement and fails to establish probable cause to search Mr. Chatrie’s Sensorvault

data. Despite the prevalence of Google phones and services, there are no facts to indicate that the

bank robber used either, whether ever or at the time of the robbery. There is no evidence that the

robber used an Android operating system or accessed any Google service in connection with the

crime. Instead, based only on Google’s popularity and the prevalence of cell phones generally, law

enforcement searched a trove of private location information belonging to 19 unknown Google

users who happened to be near a local bank on a Monday evening. The government’s generalized

assumptions about cell phone use, devoid of any specific factual nexus to the criminal activities

alleged, are insufficient to establish probable cause for the sweeping and invasive search in this

case. Additionally, the discretion afforded to police to determine which accounts to search is the

essence of an unparticularized warrant. In short, the warrant both lacks particularity and is fatally

overbroad.

       Finally, the good faith exception to the exclusionary rule does not apply to evidence

obtained from this warrant. Given the lack of particularity and absence of probable cause for any



                                                 3
  Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 4 of 26 PageID# 98



and all individuals whose data would be searched, no objectively reasonable officer could rely on

such a warrant. For these reasons, the Court must suppress all evidence obtained from the geofence

warrant and all fruit of the poisonous tree.

                                            BACKGROUND

       Over the last few decades, the ability of law enforcement to cheaply and easily access

highly sensitive digital data has progressed in leaps and bounds. Requests for user information

from cellular service providers and other online service providers like Google have become a

powerful investigative tool for law enforcement to locate and identify almost any individual, as

96% of Americans now own cell phones. Pew Research Center, Mobile Fact Sheet (Jun. 12, 2019),

http://www.pewinternet.org/fact-sheet/mobile/. As a result, “[o]nly the few without cell phones

could escape this tireless and absolute surveillance.” Carpenter, 138 S. Ct. at 2218.

       Law enforcement can locate cell phones using user location data, which is collected and

maintained by cell phone companies as well as third-party service providers, such as Google. For

example, Google regularly collects detailed location information from all phones running Google’s

“Android” operating system. Android phones routinely transmit their GPS location to Google, but

Google can also identify a phone’s location based on nearby Wi-Fi networks, mobile networks,

and device sensors. Google, How Google Uses Location Information (Oct. 25, 2019),

https://policies.google.com/technologies/location-data. While it is possible to turn off location

history on an Android phone, opening Google Maps or running a Google search will still pinpoint

a user’s latitude and longitude and create a record with Google. Ryan Nakashima, Google Tracks

Your    Movements,       Like    it    or      Not,       Associated   Press   (Aug.    13,   2018),

https://www.apnews.com/828aefab64d4411bac257a07c1af0ecb (identifying Google services that

register a user’s application upon use, including “Location History, Web and App activity, and …



                                                      4
  Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 5 of 26 PageID# 99



device-level Location Services.”). Even non-Android devices, such as Apple iPhones, transmit

location information to Google when individuals use a Google service or application, such as

Gmail, Search, and Maps. Id. Consequently, although Google’s Sensorvault does not collect data

on every phone, it nevertheless contains an enormous trove of location information on most

Android phones and many iPhones in use in the United States.

        In recent years, law enforcement has begun requesting this data from Google using

geofence warrants to identify devices present in a geographic area during a window of time.

Jennifer Valentino-DeVires, Tracking Phones, Google Is a Dragnet for the Police, N.Y. Times

(Apr. 13, 2019), https://www.nytimes.com/interactive/2019/04/13/us/google-location-tracking-

police.html. Since a geofence warrant identifies a geographic area, and not a suspect, these requests

“ensnare anyone who uses Google services at specific times in the . . . areas [near a crime],”

sweeping up innocent individuals in an unconstitutional dragnet search. Debra Cassens Weiss, FBI

Asks Google to Turn Over All Data on Users Who Were Close to Robbery Locations, ABA Journal

(Oct.   25,   2018),      http://www.abajournal.com/news/article/fbi_asks_google_for_location_

data_on_anyone_close_to_robbery_locations_in_t. Individuals may be caught up in this search by

merely using an Android phone, conducting an internet search using Google, running a Google

application such as Google Maps or YouTube, or even receiving an automatic weather update from

an Android service. Nakashima, supra, Google Tracks Your Movements, Like it or Not.

                                              FACTS

        Geofence warrants compel Google to produce location information about devices

interacting with Google technology within a geographic area during a given timeframe. In this

case, the government requested data from Google regarding all Google devices that were within

150 meters of the Call Federal Credit Union in Richmond, Virginia, during a one-hour period at



                                                 5
    Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 6 of 26 PageID# 100



the beginning of Monday evening rush hour. Specifically, the warrant sought information on all

devices within 150 meters of 37° 26’ 18.3” N, 77° 35’ 16.4” W between 4:20 and 5:20 p.m. EST.

See Ex. A State Warrant at 3 1. In addition to a major thoroughfare (U.S. Route 360), the immediate

area includes a Ruby Tuesday restaurant, a Hampton Inn hotel, a mini storage facility, an apartment

complex for seniors, another residential apartment complex, and the Journey Christian Church, a

very large 2 church located directly across from the Credit Union.               The 150-meter radius

encompasses both the bank and the church as well as their parking lots.

        The warrant describes a three-step process. First, Google provided “anonymized

information” about all Google users in the area between 4:20 and 5:20 p.m., including “a numerical

identifier for the account, the type of account, time stamped location coordinates and the data

source.” See Ex. A (State Warrant) at 2. This initial search affected 19 unique Google users,

yielding 209 location points over an hour. See Ex. B (Excel Sheet 1). Law enforcement then

reviewed the data and attempted to “narrow down the list” based on other known information. See

Ex. A (State Warrant) at 2. Next, in a private letter to Google without any additional judicial

scrutiny, police requested additional “contextual data points with points of travel outside of the

[geofence]” and for “30 minutes before AND 30 minutes after the initial search time periods” for

a subset of 9 users. Id. (emphasis added). This produced 680 location points over a total of two

hours. See Ex. C (Excel Sheet 2). Finally, police returned to Google once again to obtain


1
  The government has provided the defense with a sealed copy of this search warrant with no explanation
as to why it remains sealed. Per the Chesterfield County Circuit Court Clerk’s Office, this warrant and its
supporting documents will remain sealed absent further intervention from the government until December
19, 2019. Because the document is and will remain sealed until further action by the government, Mr.
Chatrie does not attach it here, but refers to it for when the Court is able to review a copy.
2
  In 2017, Outreach Magazine, which tracks church attendance and congregation growth rates, reported that
Journey Christian Church had 1,743 people attend its church and ranked as one of the fastest-growing
congregations     in    the     country.           Outreach    Magazine,      Journey     Christian Church,
https://outreach100.com/churches/journey-christian-church.


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    Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 7 of 26 PageID# 101



“identifying account information/CSI” for 3 users, including: usernames, subscriber information,

as well as all email addresses, electronic devices, and phone numbers associated with the

accounts. 3 See Ex. A (State Warrant) at 3.

                                               ARGUMENT

           The acquisition of Mr. Chatrie’s data from Google was a Fourth Amendment search. In

either event, the action intruded upon Mr. Chatrie’s reasonable expectation of privacy in his

location data. This is critical because the warrant obtained by Virginia police is invalid. It is a

general warrant, irredeemably unreasonable and completely impermissible under the Fourth

Amendment. Law enforcement simply cannot establish the requisite probable cause and

particularity to search a trove of data belonging individuals suspected of no wrongdoing. As a

result, the warrant is also fatally overbroad and lacking particularity. Such a warrant is void from

its inception and is no warrant at all. See United States v. Krueger, 809 F.3d 1109, 1123-24 (10th

Cir. 2015) (Gorsuch, J., concurring); see also Groh v. Ramirez, 540 U.S. 551, 558 (2004) (“[T]he

warrant was so obviously deficient that we must regard the search as ‘warrantless’ within the

meaning of our case law.”).


      I.      The Acquisition of Mr. Chatrie’s Data from Google Was a Fourth Amendment
              Search.

           In Carpenter, the Supreme Court held that individuals have a reasonable expectation of

privacy in their cell phone location data, and that the government’s acquisition of those records in

that case was a Fourth Amendment search. 138 S. Ct. at 2217. This holding applies with equal

force in the context of a location data request directed to Google, which involves information that

is more precise than the data at issue in Carpenter. Regardless of whether the Court analyzes this



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    The warrant does not define “CSI” at any point in the warrant or application.
                                                       7
 Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 8 of 26 PageID# 102



claim under the reasonable expectation of privacy framework set forth in Katz or a property-based

theory, it should reach the conclusion that acquisition of Defendant’s location information

constituted a Fourth Amendment search.

       A.      Cell Phone Users Have a Reasonable Expectation of Privacy in Their
               Location Information.

       In considering whether individuals reasonably expect information to remain private, the

Supreme Court has crafted “a twofold requirement, first that a person have exhibited an actual

(subjective) expectation of privacy and, second, that the expectation be one that society is prepared

to recognize as ‘reasonable.’” Katz v. United States, 389 U.S. 347, 361 (1967) (Harlan, J.,

concurring); see also Carpenter, 138 S. Ct. at 2219 (applying the Katz analysis in the context of

historical cell site location information and concluding that users have a reasonable expectation of

privacy in this information). Cell phone location information is highly sensitive, as shown by the

watershed decision in Carpenter, and this classification applies to Google’s Sensorvault location

data based on the strong similarities between the two types of information. In the majority opinion,

Justice Roberts emphasized the revealing nature of historical cell site location information and

compared this quality to that of GPS location information. Id. at 2217. (“As with GPS information,

the time-stamped data provides an intimate window into a person’s life, revealing … his particular

movements” (citation omitted) (emphasis added)). GPS is one of the primary methods that Google

uses to compile Sensorvault location data. Google, supra, How Google Uses Location Information.

Google also includes location data from mobile networks, id., the same technology at issue in

Carpenter.

       The fact that Google, a third-party service provider, collects and maintains this location

information does not diminish an individual’s expectation of privacy in it. Carpenter, 138 S. Ct.

at 2220. While the third-party doctrine stands for the general proposition that an individual has a

                                                 8
 Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 9 of 26 PageID# 103



reduced expectation of privacy in information knowingly shared with another, the rule is not to be

“mechanically” applied in the digital age. Id. at 2219. To do so would “[fail] to contend with the

seismic shifts in digital technology that made possible the tracking of not only [Mr. Chatrie’s]

location but also everyone else’s, not for a short period but for years and years.” Id. Indeed, Google

is no ordinary third party: “Unlike the nosy neighbor who keeps an eye on comings and goings,

they are ever alert, and their memory is nearly infallible.” Id. The fact that Google is able to provide

location data information for a given place and time in the past is possible only because of its

exhaustive and constant collection of user data.

        In Carpenter, the Court rejected the government’s contention that the third-party doctrine

applied to historical cell-site information, and this holding applies to cell phone location data

acquired through Google. The Court provided two main rationales for its decision: cell-site

location information is qualitatively different from types of business records to which the doctrine

may apply based on its revealing nature, and users do not voluntarily share their cell-site location

information with their service provider. 138 S. Ct. at 2219–20. These two rationales apply with

equal force to the location information Google stores, and as such third-party doctrine is inapposite

to data gleaned from Google under the warrant.

        Google location records are qualitatively different from the business records to which the

third-party doctrine traditionally applies. See Smith v. Maryland, 442 U.S. 735, 742 (numbers

dialed on a landline); United States v. Miller, 425 U.S. 435, 440 (1976) (bank deposit slips).

Instead, they reveal the same type of information as the cell-site location data considered private

in Carpenter, and they do so in an even more precise manner. Google, supra, Find and Improve

Your Location’s Accuracy. As the Supreme Court determined, “[t]here is a world of difference

between the limited types of personal information addressed in Smith and Miller and [an]



                                                   9
Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 10 of 26 PageID# 104



exhaustive chronicle of location information.” Carpenter, 138 S. Ct. at 2219. Location data from

Google is similarly “exhaustive.” Google routinely collects detailed location data on every user,

not just when criminal activity is suspected. And when police obtain this information with a

geofence warrant, it is also comprehensive, revealing every Google user who happened to pass

through a given area over a given timeframe. In short, Google location data is qualitatively

different from third-party business records, and regardless of the fact that Google stores it, it is

entitled to a reasonable expectation of privacy.

       Individuals do not voluntarily share their location information with Google, further

supporting the notion that the third-party doctrine is inapposite in this context. The third-party

doctrine is justified by the assumption that an individual cannot reasonably expect “information

he voluntarily turns over to third parties” to remain private. Smith, 442 U.S. at 44 (emphasis

added). In Carpenter, the Court held that cell phone users’ “sharing” of their location data with

their service provider is not done on a truly voluntary basis since “carrying [a cell phone] is

indispensable to participation in modern society.” 138 S. Ct. at 2220 (quoting Riley, 134 S. Ct. at

2484)). Similarly, navigation apps are exceedingly popular, with 77% of smartphone owners using

them regularly, and Google Maps is far and away the most popular navigation app. Riley Panko,

The Popularity of Google Maps: Trends in Navigation Apps in 2018, The Manifest (July 10, 2018),

https://themanifest.com/app-development/popularity-google-maps-trends-navigation-apps-2018.

This shows that, like owning a smartphone, using navigation software is, for many, “indispensable

to participation in modern society.” Carpenter, 138 S. Ct. at 2210. Much the same could be said

about Gmail or Google Search. Indeed, Google software is ubiquitous on smartphones, with

Android operating systems running on 87% of devices sold in 2019. International Data

Corporation, Smartphone Market Share, https://www.idc.com/promo/smartphone-market-



                                                   10
    Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 11 of 26 PageID# 105



share/os, Oct. 25, 2019. Likewise, Google Maps is the most popular navigation app, used on 67%

of smartphones, making it nearly six times more popular than its closest competitor Waze, which

is now also owned by Google. 4 Panko, supra, The Popularity of Google Maps. And more than

90% of all internet searches use Google. Jeff Desjardins, How Google retains more than 90% of

market share, Business Insider (Apr. 23, 2018), https://www.businessinsider.com/how-google-

retains-more-than-90-of-market-share-2018-4. In short, it is not reasonable to expect ordinary

phone users to avoid Google software. It cannot be that individuals must choose between their

privacy and carrying a cell phone, running a Google search, or watching a YouTube video.

          B.      Geofence Warrants Provide the Government with Unprecedented Powers of
                  Surveillance that Upset Traditional Expectations of Privacy.

          In a series of cases addressing the power of sense-enhancing technologies “to encroach

upon areas normally guarded from inquisitive eyes,” the Supreme Court “has sought to ‘assure [ ]

preservation of that degree of privacy against government that existed when the Fourth

Amendment was adopted.’” Carpenter, 138 S. Ct. at 2214 (quoting Kyllo v. United States, 533

U.S. 27, 34 (2001)) (last alteration in original); accord United States v. Jones, 565 U.S. 400, 406

(2012). As Justice Alito explained in Jones, “[i]n the precomputer age, the greatest protections of

privacy were neither constitutional nor statutory, but practical. Traditional surveillance for any

extended period of time was difficult and costly and therefore rarely undertaken.” 565 U.S. at 429

(Alito, J., concurring in judgment).

          Technological innovations, like the ability to locate cell phones (and their users) seemingly

out of thin air, remove many of these practical limitations on government surveillance capabilities.

See, e.g., Prince Jones, 168 A.3d at 714 (describing a cell-site simulator as a “powerful person-

locating capability” that the government previously lacked, which is “only superficially analogous


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    It is unclear whether use of the Waze app also contributes location data to Google’s Sensorvault.
                                                      11
Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 12 of 26 PageID# 106



to the visual tracking of a suspect”). Recognizing the potential for technologies like these to enable

invasive surveillance on a mass scale, the Court has admonished lower courts to remain vigilant

“to ensure that the ‘progress of science’ does not erode Fourth Amendment protections.”

Carpenter, 138 S. Ct. at 2223.

               1.      The data collected through a geofence warrant is extraordinarily
                       detailed and deeply revealing.

       The Carpenter Court noted that “like GPS tracking of a vehicle, cell phone location

information is detailed, encyclopedic, and effortlessly compiled.” 138 S. Ct. at 2216. Google’s

Sensorvault includes GPS data, which is even more precise than the cell site location information

at issue in Carpenter. Google, supra, Find and Improve Your Location’s Accuracy. Google also

locates users using “device sensors . . . or WiFi” to augment GPS’s accuracy when these methods

are     available.     Google       Policies,     Location       Data      (Nov.      20,      2018),

https://policies.google.com/technologies/location-data?hl=en. As a result, Google can locate a

device within approximately 20 meters, compared to “a few thousand meters” for cell site location

information. Google, supra, Find and Improve Your Location’s Accuracy. This level of precision

can pinpoint a device to a single a building, which is significantly more detailed that the location

information available from wireless carriers like AT&T or Verizon. Russell Brandom, Police Are

Filing Warrants for Android’s Vast Store of Location Data, The Verge (June 1, 2016),

https://www.theverge.com/2016/6/1/11824118/google-android-location-data-police-warrants.

       Indeed, Google location data can reveal information about a user’s location inside

constitutionally protected areas. Individuals tend to carry cell phones at all times, “into private

residences, doctor’s offices, political headquarters, and other potentially revealing locales,”

Carpenter, 138 S. Ct. at 2218. In this case, the 150-meter geofence fully encompasses the Journey

Christian Church, which has over 3,600 followers on Facebook. Journey Christian Church,

                                                 12
    Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 13 of 26 PageID# 107



Facebook (Oct. 25, 2019), https://www.facebook.com/JourneyRVA/. A church, like a home, is a

constitutionally protected space, especially because of its obvious First Amendment significance.

But when law enforcement obtained the list of Google users near the bank, it also obtained the data

of Google users inside Journey Christian Church, intruding on this quintessentially protected space

and violating churchgoers’ reasonable expectation of privacy. Such intrusions are “presumptively

unreasonable in the absence of a search warrant.” Katz, 389 U.S. at 361; Kyllo, 533 U.S. at 31

(“‘At the very core’ of the Fourth Amendment ‘stands the right of a man to retreat into his own

home and there be free from unreasonable governmental intrusion.’”) (quoting Silverman v. United

States, 365 U.S. 505 (1961)).

         When Fourth Amendment searches implicate First Amendment concerns, courts should be

careful to apply Fourth Amendment requirements with “the most scrupulous exactitude,” Stanford

v. Texas, 379 U.S. 476, 485 (1965). Additional safeguards may be constitutionally required to

protect First Amendment freedoms, Marcus v. Search Warrant of Property, 367 U.S. 717, 729

(1961). But the warrant application in this case did not even mention5 the proximity of the church

or take into account the sensitive First Amendment associations and activities that the search may

reveal. Instead, it unconstitutionally left “the protection of [First Amendment] freedoms to the

whim of the officers charged with executing the warrant.” Stanford, 379 U.S. at 485.

                2.       A Geofence Warrant Allows Law Enforcement to Retrospectively
                         Locate Individuals in Time and Space.

         In Carpenter, the Supreme Court distinguished cell site location information from

traditional law enforcement surveillance due to “the retrospective quality of the data” which “gives

police access to a category of information otherwise unknowable.” Id. at 2218. As the Court



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 In fact, the warrant appears to refer to the church as simply “an adjacent business.” See Ex. A State Search
Warrant at 5.
                                                     13
Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 14 of 26 PageID# 108



explained, it is akin to a time machine that allows law enforcement to look at a suspect’s past

movements, something that would be physically impossible without the aid of technology: “[i]n

the past, attempts to reconstruct a person’s movements were limited by a dearth of records and the

frailties of recollection.” Id. Geofence warrants likewise represent an unprecedented expansion of

law enforcement’s ability to locate a person in time and space. They enable law enforcement to

reconstruct an individual’s historical movements, something that would have been impossible at

the time of the adoption of the Fourth Amendment at this level of ubiquity, specificity, and cost.

And as with cell cite location information, they now allow the government to “travel back in time

to retrace a person’s whereabouts, subject only to [Google’s] retention polices.” Id.

       The Supreme Court has never blessed anything remotely like dragnet geofence warrants as

a permissible means of surveillance. Like the surreptitious GPS tracking in Jones, 565 U.S. at 420

(Alito, J., concurring), or the acquisition of historical CSLI in Carpenter, 138 S. Ct. at 2217, this

search could not have been conducted through visual surveillance alone. It therefore violates a

reasonable expectation of privacy and is impermissible under the Fourth Amendment. Cf. Kyllo v.

United States, 533 U.S. 27, 40 (2001) (use of a thermal imaging device is a search because the

information gleaned “would previously have been unknowable without [a] physical intrusion.”);

Prince Jones, 168 A.3d 703, 714 (D.C. 2017) (use of a “cell site simulator” to locate a person

through a cell phone is a search because the information is not readily available or in the public

view, unlike visual surveillance or older generations of tracking devices).

       C.      The Acquisition of Defendant’s GPS Data from Google Was a Search Under
               a Property-Based Approach to the Fourth Amendment.

       Under a property-based theory of the Fourth Amendment, Mr. Chatrie’s GPS data

constitutes his “papers or effects,” regardless of whether they are held by a third-party service




                                                 14
Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 15 of 26 PageID# 109



provider like Google. They therefore cannot be searched or seized without a valid warrant.

Carpenter, 138 S. Ct. at 2268 (Gorsuch, J., dissenting).

        In his dissenting opinion in Carpenter, Justice Gorsuch opined that under a “traditional

approach” to the Fourth Amendment, the protection against unreasonable searches and seizures

applied as long as “a house, paper or effect was yours under law.” Id. Justice Gorsuch drew a

strong analogy between cell phone location data and mailed letters, in which people have had an

established Fourth Amendment property interests for over a century, whether or not these letters

are held by the post office. Id. at 2269. (citing Ex parte Jackson, 96 U.S. 727, 733 (1877)). Just as

Gmail messages belong to their senders and recipients (and not to Google), so too does Google

location data belong to the Google users who generate it.

        Here, Mr. Chatrie’s location information belongs to Mr. Chatrie. Google may be

responsible for collecting and maintaining it, but even Google understands that it is the user’s

private data. For example, Google’s privacy policy consistently refers to user data as “your

information,” which can be managed, exported, and even deleted from Google’s servers at “your”

request. Google, Privacy Policy (Oct. 26, 2019), https://policies.google.com/privacy#infodelete.

These are not “business records.” Businesses do not let customers export or delete the company’s

records at will. These are customer records—Mr. Chatrie’s records. Mr. Chatrie merely entrusted

his information to Google, as so many people do. He did not forfeit his Fourth Amendment

interests in it.

        As Justice Gorsuch explained in Carpenter, “[e]ntrusting your stuff to others is a bailment.

A bailment is the ‘delivery of personal property by one person (the bailor) to another (the bailee)

who holds the property for a certain purpose.’” 138 S. Ct. at 2268–69 (Gorsuch, J., dissenting).

Here, Google is the bailee, and it owes a duty to the bailor, Mr. Chatrie, to keep his data safe. This



                                                 15
    Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 16 of 26 PageID# 110



arrangement is apparent from Google’s privacy policy. Google is not allowed to do whatever it

wishes with Mr. Chatrie’s data. While Google reserves the right to use it for advertising or

development purposes, it also promises not to disclose it to “companies, organizations, or

individuals outside of Google,” subject to a short list of explicit exceptions.6 In other words, Mr.

Chatrie retains the right to exclude others from his location data, a quintessential feature of

property ownership. See William Blackstone, 2 Commentaries on the Laws of England *2 (1771)

(defining property as “that sole and despotic dominion … exercise[d] over the external things …

in total exclusion of the right of any other.”); Loretto v. Teleprompter Manhattan CATV Corp.,

458 U.S. 419, 435 (1982) (calling the right to exclude “one of the most treasured strands” of the

property rights bundle); Kaiser Aetna v. United States, 444 U.S. 164, 176 (1979) (calling the right

to exclude “one of the most essential sticks” in the property rights bundle).

         Law enforcement eviscerated Mr. Chatrie’s right to exclude others from his location data,

which Google held in trust for him. This trespass constitutes a Fourth Amendment search and

seizure, no less than a violation of one’s “reasonable expectation of privacy.”

II.      A Geofence Warrant Is an Unconstitutional General Warrant.

         A geofence warrant, like the warrant in this case, is a general warrant, repugnant to the

Constitution. It is the epitome of the “dragnet” law enforcement practice that the Supreme Court

feared in Knotts, 460 U.S. at 284, sweeping up the location data of untold innocent individuals in

the hopes of finding one potential lead. It is inherently overbroad and lacking particularity by

design. It cannot satisfy the Fourth Amendment with “scrupulous exactitude” because it is



6
  Google, Privacy Policy (Oct. 26, 2019), https://policies.google.com/privacy#infosharing. One of these
exceptions is “For legal reasons,” but this is not a free pass to hand over user data to law enforcement. It is
implied that legal process must be valid, which includes establishing probable cause and following the
strictures of the Fourth Amendment, not just submitting the proper form. See Jim Harper, The Fourth
Amendment and Data: Put Privacy Policies in the Trial Record, The Champion, Jul. 2019, at 21.
                                                      16
Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 17 of 26 PageID# 111



inherently antithetical to the Fourth Amendment. The Court should find that geofence warrants

like this one are categorically invalid and void ab initio.

           A. The Fourth Amendment Forbids General Warrants.

       As the Supreme Court has repeatedly recognized, opposition to general warrants “helped

spark the Revolution itself,” demonstrating the degree to which they offend the most basic

principles of American liberty. Carpenter, 138 S. Ct. at 2213; see also Riley, 573 U.S. at 403;

Stanford, 379 U.S. at 481; Marcus, 367 U.S. at 728. The Virginia Declaration of Rights, like other

founding documents, also reflects this colonial hostility to general warrants by explicitly and

categorically prohibiting them:

           That general warrants, whereby an officer or messenger may be commanded to
           search suspected places without evidence of a fact committed, or to seize any
           person or persons not named, or whose offense is not particularly described and
           supported by evidence, are grievous and oppressive, and ought not to be
           granted.

Va. Const. art. I, § 10 (emphasis added); see also Zimmerman v. Town of Bedford, 134 Va. 787,

800 (1922). They are likewise forbidden by Virginia Code § 19.2–54 (“no general warrant for the

search of a house, place, compartment, vehicle or baggage shall be issued”); see also Morke v.

Commonwealth, 14 Va. App. 496, 500 (1992) (stating general warrants are proscribed by both the

Fourth Amendment and Code § 19.2–54).

       At the time of the Revolution, a general warrant meant a warrant that failed to identify the

people to be arrested or the homes to be searched. See Steagald v. United States, 451 U.S. 204,

220 (1981) (“The general warrant specified only an offense . . . and left to the discretion of the

executing officials the decision as to which persons should be arrested and which places should be

searched.”). For example, one of the specific cases that gave rise to the Fourth Amendment was

Wilkes v. Wood, 98 Eng. Rep. 489, 490 (1763), which concerned a general warrant that ordered



                                                  17
    Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 18 of 26 PageID# 112



the king’s messengers to “apprehend and seize the printers and publishers” of an anonymous

satirical pamphlet, the North Briton No. 45. The warrant did not specify which houses to search or

whom to arrest, but officials ransacked five homes, broke down 20 doors, rummaged through

thousands of books and manuscripts, and arrested 49 people. See Thomas K. Clancy, The Framers’

Intent: John Adams, His Era, and the Fourth Amendment, 86 Ind. L.J. 979, 1007 (2011). The

Wilkes court condemned the warrant because of the “discretionary power” it gave officials to

decide where to search and what to take. 98 Eng. Rep. at 498. The case became wildly famous in

the American colonies, one of three influential English cases that led to the rejection of general

warrants. 7

         One reason the Founders opposed general warrants was because of the discretion they gave

to officials. They placed “‘the liberty of every man in the hands of every petty officer’” and were

therefore denounced as “‘the worst instrument of arbitrary power.” Stanford, 379 U.S. at 481

(quoting James Otis). The other reason was that general warrants allowed the government to target

people without any evidence of criminal activity, turning the concept of innocent until proven

guilty on its head. Donohue, 83 U. Chi. L. Rev. at 1317. Instead of having information that the

person or place to be searched is engaged in illegal activity, general warrants presume guilt,

establishing innocence only after a search. Id. Prohibiting such “promiscuous” searches therefore

served to protect not only individual rights, but also a cornerstone of American liberty. Id.

         Thus, for example, no valid search warrant would permit the police to search every house

in a neighborhood or pat down everyone in sight. See United States v. Glenn, 2009 WL 2390353,

at *5 (S.D. Ga. 2009) (“The officers’ ‘generalized’ belief that some of the patrons whom they had


7
 See generally, Laura K. Donohue, The Original Fourth Amendment, 83 U. Chi. L. Rev. 1181, 1196 (2016).
In addition to Wilkes v. Wood, the cases were Entick v Carrington, 19 How St Tr 1029 (CP 1765), and
Leach v Money, 19 How St Tr 1001 (KB 1765).


                                                 18
Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 19 of 26 PageID# 113



targeted for a systematic patdown might possibly have a weapon was insufficient to justify a

‘cursory’ frisk of everyone present.”); Commonwealth v. Brown, 68 Mass. App. Ct. 261, 262

(Mass. App. Ct. 2007) (holding that a warrant “authorizing a search of ‘any person present’ . . .

resulted in an unlawful general search.”); Grumon v. Raymond, 1 Conn. 40, 43 (1814) (holding

that a “warrant to search all suspected places [for stolen goods]” was unlawful because “every

citizen of the United States within the jurisdiction of the justice to try for theft, was liable to be

arrested”). Yet, with a geofence warrant, law enforcement can do just that, searching inside every

home, vehicle, purse, and pocket in a given area, without particularized suspicion to search any of

them.

           B. A Geofence Warrant Is A General Warrant.

        A geofence warrant, like the one in this case, is a modern-day incarnation of the historically

reviled general warrant. It is the digital equivalent of searching every home in the neighborhood

of a reported burglary, or searching the bags of every person walking along Broadway because of

a theft in Times Square. Without the name or number of a single suspect, and without ever

demonstrating any likelihood that Google even has data connected to a crime, law enforcement

invades the privacy of tens or hundreds or thousands of individuals, just because they were in the

area. Cf. Sibron v. New York, 392 U.S. 40, 63–64 (1968) (holding that “[t]he suspect’s mere act of

talking with a number of known narcotics addicts over an eight-hour period” did not give rise to

either reasonable suspicion or probable cause to search him).

        The Supreme Court has always been “careful to distinguish between [] rudimentary

tracking . . . and more sweeping modes of surveillance,” in deciding whether a search is

constitutional. Carpenter, 138 S. Ct. at 2215 (citing Knotts, 460 U.S. at 284). Geofence warrants

fall on the “sweeping” end of this spectrum, as they potentially affect everyone. They represent



                                                 19
Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 20 of 26 PageID# 114



the kind of surveillance that the Supreme Court cautioned against in Knotts, noting that “if such

dragnet type law enforcement practices . . . should eventually occur, there will be time enough

then to determine whether different constitutional principles may be applicable.” 460 U.S. at 283–

84. That time is now.

        A comparison to the “rudimentary tracking” in beeper cases such as Knotts and Karo

illuminates the drastically different, indiscriminate-dragnet nature of a geofence warrant. In the

beeper cases, the government only sought to track one individual. To do so, law enforcement first

needed to identify the individual, and then to physically install a tracking device on an object that

was in their possession. With a geofence warrant, however, the government no longer needs

identify a suspect. Instead, “[w]ith just the click of a button, the government can access [Google’s]

deep repository of historical location information at practically no expense.” Carpenter, 138 S. Ct.

at 2218; see also United States v. Garcia, 474 F.3d 994, 998 (7th Cir. 2007) (“Technological

progress poses a threat to privacy by enabling an extent of surveillance that in earlier times would

have been prohibitively expensive”). Because of the ubiquity of Google software on cell phones,

Sensorvault includes location data on many of the 400 million devices in the United States—“not

just those belonging to persons who might happen to come under investigation,” meaning that “this

newfound tracking capacity runs against everyone” who uses Google. Carpenter, 138 S. Ct. at

2218.

        Geofence warrants pose the same type of threat as colonial-era general warrants “which

allowed British officers to rummage through homes in an unrestrained search for evidence of

criminal activity.” Riley, 134 S. Ct. at 2494. As in this case, they are the product of unrestrained

searches of constitutionally protected spaces, like the Journey Christian Church. And they result




                                                 20
Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 21 of 26 PageID# 115



in rummaging through the digital papers and effects of large numbers of unknown, unnamed

people, all or almost all of whom are admittedly innocent.

           C. A Geofence Warrant Cannot Satisfy the Probable Cause or Particularity
              Requirements.

       By design, a geofence warrant does not specify the individuals or individual Google

accounts to be searched. Rather, the purpose is to search across millions of unknown user accounts

and then identify specific accounts that law enforcement would like to search further. As a result,

however, geofence warrants are inherently incapable of meeting the probable cause and

particularity requirements of the Fourth Amendment, and are therefore general warrants.

       Geofence warrants are intentionally overbroad. In contrast to warrants authorizing the

acquisition of location data about a single individual suspected of a criminal offense, geofence

warrants identify all Google users merely due to their proximity to a crime scene. But as the

Supreme Court has held on more than one occasion, “a person’s mere propinquity to others

independently suspected of criminal activity does not, without more, give rise to probable cause

to search that person.” Ybarra v. Illinois, 444 U.S. 85, 91 (1979) (citing Sibron, 392 U.S. at 62–

63); see also United States v. Di Re, 332 U.S. 581, 587 (1948) (holding that a person, by mere

presence in a suspected car, does not lose immunities from search of his person to which he would

otherwise be entitled). Consequently, there is an abject absence of individualized suspicion for

any, let alone all, of the individuals whose Google data were searched by the warrant. Of course,

it would have been difficult to establish probable cause for the location information of every

Google user near the bank, as the government acknowledges that most of the data belongs to

innocent people. But the convenience of gathering location information on all of those individuals

with a single warrant to Google does not obviate the requirements of the Fourth Amendment. Riley,

134 S. Ct. at 2493 (citing Coolidge v. New Hampshire, 403 U.S. 443, 481 (1971)); Carroll v.

                                                21
Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 22 of 26 PageID# 116



United States, 267 U.S. 132, 153–54 (1925) (“It would be intolerable and unreasonable if a

prohibition agent were authorized to stop every automobile on the chance of finding liquor, and

thus subject all persons lawfully using the highways to the inconvenience and indignity of such a

search.”). The warrant is void for lack of probable cause.

       Similarly, a geofence warrant is not remotely particularized. The purpose of the

particularity requirement is to prevent general warrants, which it does by “limiting the

authorization to search the specific areas and things for which there is probable cause to search.”

Maryland v. Garrison, 480 U.S. 79, 84 (1987). With respect to seizures, the Fourth Amendment

demands that “nothing is left to the discretion of the officer executing the warrant.” And where, as

here, there are significant First Amendment concerns—especially due to the proximity of a

church—the particularity requirement takes on heightened importance. Stanford, 379 U.S. at 485;

Marcus, 367 U.S. at 729; A Quantity of Copies of Books v. Kansas, 378 U.S. 205, 212 (1964).

       A geofence warrants leaves the question of whose data to search and seize almost entirely

the discretion of the executing officers. It does not “particularly describe the ‘things to be seized,’

let alone identify the name of a single suspect Google user, phone number, or account. Dalia v.

United States, 441 U.S. 238, 255 (1979) (citing Stanford v. Texas, 379 U.S. 476, 485 (1965)).

Instead, it identifies Google headquarters as the place to be searched and requests location data

from all Google users near a given location. Although the data is “anonymized” initially, it does

not stay that way. Rather, the warrant leaves it up to the police to “narrow down the list” by some

unknown or unstated method before the officers decide which accounts to deanonymize and search

further. See Ex. A State Search Warrant at 2. Law enforcement engage in multiple rounds of back-

and-forth with Google—not the independent magistrate envisioned by the Fourth Amendment—




                                                  22
    Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 23 of 26 PageID# 117



to decide whose data they would review. Paired with the sweeping scope and absence of probable

cause, the lack of particularity in geofence warrants make them unconstitutional general warrants.

            D. This Geofence Warrant is Overbroad and Lacking Particularity

         Even if geofence warrants are not categorically impermissible, the geofence warrant

obtained in this case is unconstitutionally overbroad and lacks particularity.

         First, Virginia police did not have probable cause to believe that the bank was robbed by a

Google user. While the warrant application does state that the robber could be seen using a cell

phone, there is no evidence to show that it was an Android phone or that he or she used a Google

service within the initial one-hour window identified in the warrant. The application cites the

general popularity of cell phones, but does not provide any facts to suggest that Google specifically

would have data pertaining to the perpetrator of this crime. It did not allege that bank robbers

frequently use Google or state that a teller had noticed the phone’s make and model. If the robber

had an iPhone and did not use Google services between 4:20 and 5:20 p.m., then Google would

not have a record of the phone’s location during that time. 8

         Second, the warrant does not specify which Google accounts it seeks to search, presumably

due to the lack of probable cause to search any specific Google user. Even the 150-meter radius is

not sufficiently particular. Rather than a requesting data for just the bank and parking lot, the

warrant included the entirety of the church next door. Furthermore, a three-step, back-and-forth

process with the recipient of a warrant is not a substitute for particularizing that warrant at the

outset. Instead, it is an unconstitutional delegation of discretion to the executing officers. The



8
 Likely for this reason, the use of geofence warrants elsewhere has frequently failed to identify suspects.
See Tyler Dukes, To find suspects, police quietly turn to Google, WLAR (Mar. 15, 2018),
https://www.wral.com/Raleigh-police-search-google-location-history/17377435/ (finding that “only one
person has been arrested for any of the crimes in which police approached Google for data on thousands of
users” across the four investigations).
                                                    23
Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 24 of 26 PageID# 118



issuing court had no information on how many people were likely to be initially affected. And it

had no role in deciding which of those people would be subject to further search, outside the

geofence, wherever they happened to be. Indeed, the warrant permits police to obtain location data

from anywhere outside the geofence for an unknown subset of users, identified solely by

investigators, with no additional showing or judicial involvement. See Ex. A State Search Warrant

at 2. Finally, the court had no role in deciding which or how many people would have their data

deanonymized and searched further still. The warrant left everything up to the discretion of the

executing officers, violating the Fourth Amendment’s particularity requirement.

III.    The Good Faith Exception Does Not Apply

        Under the good-faith exception to the exclusionary rule, evidence derived from an

unconstitutional search should not be suppressed when it is obtained in reliance on a facially valid

warrant. United States v. Leon, 468 U.S. 897 (1984). The Supreme Court has emphasized,

however, that “in some circumstances the officer will have no reasonable grounds for believing

that the warrant was properly issued.” Id. at 922-23. There, the good faith exception would not

apply, and suppression would be appropriate “if the officers . . . could not have harbored an

objectively reasonable belief in the existence of probable cause.” Id. at 926. Suppression is also

appropriate where “a warrant may be so facially deficient—i.e., in failing to particularize the place

to be searched or the things to be searched—that the executing officers cannot reasonably presume

it to be valid.” Id.

        Here, a reasonable law enforcement officer could not have presumed that such an

overbroad, unparticularized warrant would be valid. The police knew they did not have a suspect,

let alone probable cause to search any specific person or place. Instead, they sought every Google

user’s location data near a bank at rush hour—with no evidence that the robber had ever used



                                                 24
Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 25 of 26 PageID# 119



Google. They then exercised complete discretion in deciding which accounts to search further,

deanonymize, and obtain additional information about. The deficiencies of this geofence

warrant—its absence of probable cause and particularity—are readily apparent, casting it within

the circumstances described in Leon and making the good faith exception to the exclusionary rule

inapplicable.

                                          CONCLUSION

       This is a case of first impression, but the Court should treat the geofence warrant here as

any other general warrant: repugnant to the Constitution. Geofence warrants represent an

unprecedented expansion of the government’s surveillance capabilities. Carpenter’s emphasis on

the degree to which location data obtained by law enforcement is sensitive or “deeply revealing”

shows that courts are recognizing the need to treat cell phone data differently from physical

records. Based on the sensitivity of these records and the scope of the search, geofence warrants

are Fourth Amendment searches of the unreasonable variety. The warrant obtained in this case

implicates First Amendment concerns, and as such must withstand “scrupulous exactitude” under

the Fourth Amendment. Yet this geofence warrant cannot even survive the probable cause and

particularity under the Fourth Amendment. Instead, the warrant functions as a general warrant,

thus not meeting the higher First Amendment standard. Finally, because the good faith exception

cannot apply to a warrant no reasonable law enforcement officer would in good faith rely on, this

geofence warrant is an unconstitutional search, and we therefor request that its fruits be suppressed.

                                               Respectfully submitted,

                                               OKELLO T. CHATRIE

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                                                 25
Case 3:19-cr-00130-MHL Document 29 Filed 10/29/19 Page 26 of 26 PageID# 120



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                               CERTIFICATE OF SERVICE

        I hereby certify that on October 29, 2019, I filed the foregoing with the Clerk of Court
using the CM/ECF system, which will send a notification of such filing (NEF) to all counsel of
record.

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                                              26
